

Matter of Jin Hee Ahn (2022 NY Slip Op 01864)





Matter of Jin Hee Ahn


2022 NY Slip Op 01864


Decided on March 17, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 17, 2022

PM-55-22
[*1]In the Matter of Jin Hee Ahn, an Attorney. (Attorney Registration No. 5587563.)

Calendar Date:March 14, 2022

Before:Garry, P.J., Aarons, Colangelo, Fisher and McShan, JJ.

Jin Hee Ahn, Falls Church, Virginia, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Jin Hee Ahn was admitted to practice by this Court in 2018 and lists a business address in Washington, DC with the Office of Court Administration. Ahn now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application by correspondence from its Chief Attorney.
As is noted by AGC, Ahn is presently delinquent in her New York attorney registration requirements, having failed to register for the biennial period beginning in 2020 (see Judiciary Law § 468-a; Rules of the Chief Admin of Cts [22 NYCRR] § 118.1). Inasmuch as Ahn is therefore subject to potential disciplinary action (see Judiciary Law § 468-a [5]; Rules of Professional Conduct [22 NYCRR 1200.0] rule 8.4 [d]; see also Matter of Attorneys in Violation of Judiciary Law § 468-a, 113 AD3d 1020, 1021 [2014]), she is ineligible for nondisciplinary resignation and her application must be denied (see Matter of Cluff, 148 AD3d 1346, 1346 [2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [2017]). Further, any future application by Ahn must be supported by proof of her full satisfaction of the requirements of Judiciary Law § 468-a and Rules of the Chief Administrator of the Courts (22 NYCRR) § 118.1 (see Matter of Frank, 146 AD3d 1228, 1228-1229 [2017]).
Garry, P.J., Aarons, Colangelo, Fisher and McShan, JJ., concur.
ORDERED that Jin Hee Ahn's application for permission to resign is denied.








